             Case 4:22-cv-00546-JSW Document 23 Filed 07/25/22 Page 1 of 2




David Stebbins (pro se Plaintiff)
123 W. Ridge Ave., APT D
Harrison, AR 72601
(870) 212-4947
acerthorn@yahoo.com

       UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                                           PLAINTIFF

VS.                                          Case 3:22-cv-00546-JSW

EMILY REBÔLO, ET AL                                                                       DEFENDANTS

                               MOTION FOR RELIEF OF JUDGMENT
           Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Motion
for Relief of Judgment pursuant to Federal Rule of Civil Procedure 60.
1.         There is currently a pending motion for leave to file a motion for reconsideration. See
Dkt. 21. This motion was filed before the entry of judgment (which is Dkt. 22), so it is still
validly before the court. However, I spoke with California's pro bono office today, and they
advised me that the filing of that motion may, but also may not, toll the 30-day time limit to file a
notice of appeal. They said that the best thing I could do to ensure that this time limit is tolled is
to file a Motion for Relief of Judgment pursuant to Rule 601. That is what I am doing now. This
motion is not being filed just to arbitrarily increase the Court's workload, but to ensure that the
Court can rule on my pleas for reconsideration before I am forced to appeal.
2.         Rule 60(b)(6) allows the Court to set aside a judgment for “any other reason that justifies
relief,” even if that reason is not explicitly stated in Rule 60(b).
3.         As I stated in Dkt. 21, there are several reasons this Court should vacate the judgment
against me, including but not limited to …
     (a)      The judge has openly admitted to holding a personal grudge against me because I

1 See Federal Rule of Appellate Procedure 4(a)(4)(A)(vi) ("If a party files in the district court any of the following
  motions under the Federal Rules of Civil Procedure—and does so within the time allowed by those rules—the
  time to file an appeal runs for all parties from the entry of the order disposing of the last such remaining
  motion ... for relief under Rule 60 if the motion is filed no later than 28 days after the judgment is entered.")

Case 3:22-cv-00546-JSW                                   -1-                     Motion for Relief of Judgment
             Case 4:22-cv-00546-JSW Document 23 Filed 07/25/22 Page 2 of 2




     issued the voluntary dismissal that he didn't like, thereby violating my absolute right to an
     impartial judge. Therefore, the judge should have recused himself.
     (b)      The Court erroneously declared my Accidental Livestream to be not copyrightable in
     the related case. As such, all rulings in this case that were, in whole or in part, based on that
     finding are likewise in error.
     (c)      The Court made an absolutely ridiculous finding that, because of a sliiiiight clerical
     error in my application for registration of the accidental livestream (one that I didn't even do
     on purpose), all my future registrations are likewise null and void. This is an absolutely
     preposterous finding that is clearly just designed to punish me for issuing the voluntary
     dismissal, not because the merits of the case actually warrant such a nuclear response. This
     only further demonstrates that the judge is just biased against me and should recuse.
     (d)      The Court made rulings on the affirmative defense of fair use without giving me a
     chance to even argue my case against it. This is a blatant violation of my due process rights,
     and one the judge only did because he personally doesn't like me.
     (e)      The Court made the out-of-the-blue finding that I am simply trying to silence
     criticism, even though there is absolutely no evidence on the record (or any evidence
     anywhere, aside from the defendants' uncorroborated accusations against me) to support such
     a finding. This blatant violation of my due process rights (making a dispositive ruling on a
     extremely damning accusation without me getting my day in court on the accusation) is
     further proof that the judge is only issuing rulings out of anger becausehe he doesn't like me,
     and therefore should recuse.
4.         The contents of Dkt. 159 are hereby incorporated by reference.
           Wherefore, premises considered, I respectfully request that the judgment be vacated. So
requested on this 25th day of July, 2022.
                                                                                    /s/ David Stebbins
                                                                                        David Stebbins
                                                                            123 W. Ridge Ave., APT D
                                                                                  Harrison, AR 72601
                                                                                        (870) 212-4947
                                                                                acerthorn@yahoo.com

Case 3:22-cv-00546-JSW                             -2-                 Motion for Relief of Judgment
